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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF COLUMBIA

           DEBORAH LAUFER,
               Plaintiff

                      v.                            Case No. 1:20-cv-2208

          R B PROPERTIES INC,
                Defendant.


MOTION BY: Plaintiff
RELIEF REQUESTED: An Order striking Defendant’s Reply
BASIS FOR RELIEF REQUESTED: Federal Rule of Civil Procedure 12(f)2.
SUPPORTING PAPERS: Memorandum of Law in Support of Motion to Strike
DATE AND TIME: To be determined by this Court
Dated: October 27, 2020


By: /s/ Tristan W. Gillespie
Tristan W. Gillespie, Esq.

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Plaintiff's Memorandum of Law to Strike Defendant’s Reply or in the Alternative for
Leave of Court to File a Surreply to Defendant’s Reply Attempting to Justify its
Motion to Dismiss

PRELIMINARY STATEMENT
         Plaintiff respectfully submits that Defendant’s reply brief raised numerous arguments

that contain misstatements and distortion of the facts that mischaracterize the nature of

plaintiff's complaint. Accordingly, Plaintiff, by undersigned counsel, respectfully requests

that Defendant’s Motion to Dismiss be stricken, or alternatively, Plaintiff requests leave to

file a surreply to the Defendant’s Reply to Plaintiff's Opposition to Motion to Dismiss.


Argument
         Defendant filed their reply on 10/23/2020 in support of the motion to dismiss. In

support of their reply, Defendant cited the following cases for the first time in their reply

brief:

   •     Am Anti-Vivisection Soc’y v USDA, 946 F3d 615 (DC Cir Jan 10, 2020)
   •     Friends of Animals v Jewell, 828 F3d 989 (DC Cir 2016)
   •     Havens Realty Corp v Coleman, 455 US 363 (1982)
   •     Houston v Marod Supermarkets, Inc, 733 F3d 1323 (11th Cir 2013)
   •     Jefferson v Stinson Morrison Heckler LLP, 249 F Supp 3d 76, 80 (DDC 2017)
   •     Kennedy v Nisha, Inc, 2020 US Dist LEXIS 170829, *8 (MD Fla Sept 17, 2020)
   •     Owner-Operator Indep Drivers Ass’n v United States DOT, 879 F3d 339 (DDC Jan
         12, 2018)
   •     Parks v Richard, 2020 US Dist LEXIS 86790, *4 (MD Fla May 18, 2020)
   •     Peart v Latham & Watkins LLP, 985 FSupp 2d 72, 79 (DDC 2013)
   •     PETA v USDA, 797 F3d 1087 (DC Cir 2015)
   •     PGA Tour v Martin, 532 US 661 (2001)
   •     Price v City of Ocala, 375 FSupp 3d 1264 (MD Fla April 22, 2019)
   •     Spokeo, Inc v Robins, 136 S St 1540, 1549 (2016)
   Included in their reply were several new arguments which Defendant raised for the first

time that could have and should have been raised in their initial motion to dismiss, thereby
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allowing the Plaintiff the opportunity to respond. Defendant’s untimely introduction of these

issues is procedurally improper and unfair to Plaintiff. For example, and confusingly,

Defendant’s reply includes a lengthy and self-defeating admission as to how unsettled the

existing law is with regard to ADA website cases. Defendant includes the following quote

in their Reply brief: “ADA website cases are somewhat tricky because courts nationwide are

trying to get the square peg of an online injury into the round hold of traditional standing

analysis... and there is little authoritative guidance to help district courts.” Parks v. Richard,

2020 U.S. Dist. LEXIS 86790, *4 (M.D. Fla. May 18, 2020). Needless to say, any Motion

to Dismiss (and supporting Reply brief) must be founded on clear, untricky law based upon

authoritative guidance. Therefore, by Defendant’s own arguments, their Motion to Dismiss

lacks merit and should, itself, be dismissed. Nonetheless, if this Court should find arguendo

that Defendant’s Reply includes a scintilla of merit, Plaintiff respectfully requests the

opportunity to address same via surreply.


CONCLUSION


      For the reasons stated herein, Plaintiff respectfully requests entry of an order striking

Defendant’s Reply. Alternatively, Plaintiff respectfully requests leave to file a surreply in

order to correct the Defendant’s misstatements.


Dated: October 27, 2020


By: /s/ Tristan W. Gillespie
Tristan W. Gillespie, Esq.
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